     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 1 of 12 Page ID #:231



 1   THOMAS P. O’BRIEN
     United States Attorney
 2   ROBB C. ADKINS
     Chief, Santa Ana Office
 3   DOUGLAS F. McCORMICK (180415)
     Assistant United States Attorney
 4        411 West Fourth Street, Suite 8000
          Santa Ana, California 92701
 5        Telephone: (714) 338-3541
          Facsimile: (714) 338-3564
 6        E-mail:    doug.mccormick@usdoj.gov
 7   STEVEN A. TYRRELL, Chief
     MARK F. MENDELSOHN, Deputy Chief
 8   HANK BOND WALTHER, Assistant Chief
     ANDREW GENTIN, Trial Attorney
 9   Fraud Section
     Criminal Division, U.S. Department of Justice
10        1400 New York Avenue, N.W.
          Washington, DC 20005
11        Telephone: (202) 353-3551
          Facsimile: (202) 514-0152
12        E-mail:    andrew.gentin@usdoj.gov
13   Attorneys for Plaintiff
     United States of America
14
15                         UNITED STATES DISTRICT COURT
16                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
17                               SOUTHERN DIVISION
18   UNITED STATES OF AMERICA,         )   SA CR 09-00077-JVS
                                       )
19                      Plaintiff,     )   GOVERNMENT’S MOTION FOR
                                       )   AMENDMENT OF CONDITIONS OF
20                 v.                  )   RELEASE FOR DEFENDANTS STUART
                                       )   CARSON, HONG CARSON, AND DAVID
21   STUART CARSON et al.,             )   EDMONDS
                                       )
22                      Defendants.    )   [18 U.S.C. § 3145(a)(1)]
23                                     )   No Hearing Date/Time Set
24
25        Plaintiff United States of America, by and through its
26   attorneys of record, the United States Department of Justice,
27   Criminal Division, Fraud Section, and the United States Attorney
28   for the Central District of California (collectively, “the
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 2 of 12 Page ID #:232



 1   government”), hereby files a motion for amendment of the
 2   conditions of release set by Magistrate Judge Marc L. Goldman for
 3   defendants Stuart Carson, Hong Carson, and David Edmonds.
 4   Specifically, the government seeks to prohibit these defendants
 5   from traveling internationally due to the significant amount of
 6   prison time they face, the risk of flight, and other
 7   circumstances described in the attached Memorandum of Points and
 8   Authorities (“Memorandum”) and the exhibits thereto.
 9        Based on the facts outlined in the Memorandum, the files and
10   records in this matter, including the respective Pre-Trial
11   Services report for the defendants, as well as any evidence or
12   argument presented at any hearing on this matter, the government
13   requests that the Court amend the conditions of release for
14   defendants Stuart Carson, Hong Carson, and David Edmonds to
15   strike the condition allowing international travel, and limit
16   their travel to the continental United States.
17   DATED: April 16, 2009              Respectfully submitted,
18                                      THOMAS P. O’BRIEN
                                        United States Attorney
19
                                        ROBB C. ADKINS
20                                      Assistant United States Attorney
                                        Chief, Santa Ana Office
21                                      DOUGLAS F. McCORMICK
                                        Assistant United States Attorney
22                                      Deputy Chief, Santa Ana Office
23                                      STEVEN A. TYRRELL, Chief
                                        MARK F. MENDELSOHN, Deputy Chief
24                                      HANK BOND WALTHER, Assistant Chief
                                        ANDREW GENTIN, Trial Attorney
25                                      Fraud Section, Criminal Division
                                        United States Department of Justice
26
                                        /s/
27                                      _______________________________
                                        DOUGLAS F. McCORMICK
28                                      Assistant United States Attorney

                                          2
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 3 of 12 Page ID #:233



 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      FACTS
 3           A.      Charges Against Defendants
 4           A federal grand jury returned an indictment on April 8,
 5   2009, charging defendants Stuart Carson (“S. Carson”), Hong
 6   “Rose” Carson (“R. Carson”), Paul Cosgrove, David Edmonds, Flavio
 7   Ricotti, and Han Yong Kim (collectively, “defendants”) with
 8   conspiring to secure contracts for their employer, Control
 9   Components, Inc. (“CCI”), by paying bribes to officials of
10   foreign state-owned companies as well as officers and employees
11   of foreign and domestic private companies.
12           Count one of the indictment charges the defendants with
13   conspiring to violate the Foreign Corrupt Practice Act, 15 U.S.C.
14   § 78dd-2, and the Travel Act, 18 U.S.C. § 1952, from 1998 through
15   2007.    Specifically, count one alleges that from 2003 through
16   2007, defendants caused CCI to pay approximately $4.9 million in
17   corrupt payments to foreign officials in violation of the FCPA,
18   and approximately $1.95 million in corrupt payments to officers
19   and employees at private companies in violation of the Travel
20   Act.    All told, CCI made approximately 236 payments in over
21   thirty countries, resulting in net profits to CCI of
22   approximately $46.5 million from the sales related to those
23   corrupt payments.
24           Counts two through ten of the indictment allege substantive
25   FCPA violations involving corrupt payments to foreign officials
26   in Korea, China, United Arab Emirates, and Malaysia.           Counts
27   eleven through fifteen allege substantive violations of the
28   Travel Act involving corrupt payments to private companies.             The

                                           1
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 4 of 12 Page ID #:234



 1   final count of the indictment alleges that defendant R. Carson
 2   obstructed an investigation within the jurisdiction of a federal
 3   agency when she destroyed documents relevant to CCI’s internal
 4   investigation of the corrupt payments by flushing them down the
 5   toilet of CCI’s ladies’ room.
 6          The indictment alleges that defendants perpetrated a
 7   business model that encouraged CCI employees to cultivate so-
 8   called “friends-in-camp,” or FICs, who were typically officers
 9   and employees of CCI’s state-owned and private customers with the
10   authority either to award contracts to CCI or to influence the
11   technical specifications of an order in a manner that would favor
12   CCI.   Indictment, ¶ 18(a).     Either directly or through various
13   channels, defendants caused CCI to make payments to those FICs at
14   either state-owned entities or privately-owned companies.            Id.,
15   ¶¶ 18(b)-(e).    By so doing, defendants violated the FCPA and the
16   Travel Act.   Id., ¶¶ 32-33, 34-35.
17          The indictment further alleges that each of the defendants
18   took steps to conceal their corrupt practices.          S. Carson
19   attempted to halt a 2004 internal audit of commission payments by
20   CCI’s parent company.     Id., ¶ 24.     R. Carson and Edmonds provided
21   false information to these internal auditors, with Edmonds
22   creating false invoices to make some of the corrupt commission
23   payments appear to be legitimate.        Id., ¶¶ 25, 26.     In 2007, R.
24   Carson and Edmonds again provided false information, this time in
25   response to the company’s internal investigation of corrupt
26   payments.   Id., ¶ 29.    As he had in 2004, Edmonds tried to make
27   several FIC payments appear to be legitimate.          Id., ¶ 28.
28   Finally, when the internal investigators were at CCI in August

                                          2
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 5 of 12 Page ID #:235



 1   2007, R. Carson destroyed documents related to the internal
 2   investigation by flushing them down the toilet in CCI’s ladies’
 3   room.    Id., ¶ 30.
 4           B.   Magistrate Judge Authorizes International Travel
 5           On April 9, 2009, the CCI defendants appeared before
 6   Magistrate Judge Marc L. Goldman for their initial appearances.
 7   While the parties did not differ substantially on the specific
 8   bond amounts, the government objected to the requests of
 9   defendants S. Carson, R. Carson, and Edmonds to travel
10   internationally for business purposes.        Magistrate Judge Goldman
11   ultimately allowed these defendants to travel internationally
12   with certain conditions.      Specifically, all three defendants were
13   required to surrender their passports to the Court’s Pre-Trial
14   Services (“PTS”) and, before traveling internationally, were
15   required to arrange for the return of their passports by
16   notifying PTS in advance of their itineraries.          Magistrate Judge
17   Goldman allowed defendants S. Carson and R. Carson to travel
18   internationally up to four times per year and defendant Edmonds
19   to travel internationally once every two months.          Finally,
20   Magistrate Judge Goldman prohibited defendants S. Carson and R.
21   Carson from traveling internationally simultaneously, and ordered
22   them to surrender to PTS the passports of their minor children.
23   Defendant Edmonds was also ordered to surrender the passport of
24   his wife when he travels internationally.
25
26
27
28

                                          3
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 6 of 12 Page ID #:236



 1   II.   DEFENDANTS S. CARSON, R. CARSON, AND EDMONDS SHOULD NOT BE
           ALLOWED TO TRAVEL INTERNATIONALLY FOR BUSINESS PURPOSES
 2
 3         A.   Defendants Are Facing Lengthy Prison Sentences
 4         Any consideration of risk of flight must take into account
 5   the potential prison sentence defendants are facing.           In this
 6   case, if defendants are convicted of the charged offenses, they
 7   will face lengthy prison sentences.        Most significant to this
 8   motion, defendant S. Carson would face a sentence of 15 years in
 9   prison and a significant fine, and defendants R. Carson and
10   Edmonds would each face sentences of at least 19 years in prison
11   and significant criminal fines.
12         The applicable sentencing guideline for these defendants is
13   USSG § 2C1.1, which provides for a base offense level of twelve.
14   A two-level enhancement would be applied for multiple corrupt
15   payments (§ 2C1.1(a)(2)) and even more significantly, an
16   enhancement of 22 based on “the benefit received or to be
17   received in return for the payment” (§§ 2C1.1(b)(2), 2B1.1).
18   Accordingly, before any Chapter 3 enhancements for potential
19   aggravating role or obstruction of justice are even considered,
20   defendants face a potential offense level of at least 36, or a
21   guideline range of 188-235 months.1
22         Defendants’ age also increases their risk of flight.
23   Defendant S. Carson is 70 years old.        If he is convicted of the
24   charged offenses, he will be facing what amounts to a life
25   sentence in prison.     Defendant R. Carson, who is S. Carson’s
26   wife, is 45 years old and facing a sentence of at least 19 years
27
           1
               Defendant S. Carson faces a statutory maximum sentence
28   of 15 years in prison.

                                          4
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 7 of 12 Page ID #:237



 1   in prison.      Defendant Edmonds is 56 and is also facing a sentence
 2   of at least 19 years in prison.
 3           B.     Defendants Have Extensive Foreign Ties
 4           Additionally, each of these defendants has extensive foreign
 5   ties.       Each has traveled extensively overseas for business in the
 6   last several years and also has family relationships overseas.
 7   Defendant Edmonds’s wife is from Thailand.2         Defendant R. Carson
 8   was raised in China, and speaks Mandarin.         The Carsons have at
 9   least considered relocating from the United States to China in
10   the past.      In an e-mail to IMI’s David Nicholas on June 25, 2004,
11   S. Carson wrote that “[w]e are back in Beijing for more customer
12   activity and then Wednesday to Shanghai to try to get the
13   children to consider moving to Shanghai.”         Exhibit A.    Notably,
14   the United States does not have an extradition treaty with China.
15           C.     Defendants Have the Means to Flee and Live Overseas
16           Additionally, the fact of defendants’ significant assets
17   increases their likelihood of flight.3        During the years of the
18   alleged conspiracy to make corrupt payments, each of the
19   defendants was paid large amounts of money by CCI.          From 1998-
20   2005, defendant S. Carson was paid approximately $3.9 million in
21   salary and bonus, and defendant R. Carson was paid approximately
22   $1.5 million during roughly the same time period.          CCI also owes
23   defendant S. Carson deferred compensation of more than $2
24
             2
               Mrs. Edmonds recently became a United States citizen.
25   Without diminishing the importance and meaningfulness of that
     step, it does not undo the fact that Mrs. Edmonds has ties to a
26   foreign country.
27           3
               The government’s information about the net worth of the
     Carsons is incomplete, in part because the Carsons declined to
28   provide PTS with a full accounting of their assets.

                                          5
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 8 of 12 Page ID #:238



 1   million.   The Carsons own a home in San Clemente which is
 2   appraised at approximately $1.5 million.4        In addition, public
 3   records show that the Carsons own additional property in Florida.
 4   Defendant Edmonds’s assets, while more modest than the Carsons,
 5   are still significant: in addition to his home in Laguna Niguel,
 6   in which he has equity of $200,000-$300,000, defendant Edmonds
 7   has assets of several hundred thousand dollars plus entitlement
 8   to a similar amount of deferred compensation from CCI.
 9        Accordingly, these defendants not only have an incentive to
10   flee, they have the means to do so.
11        D.    Defendants Should Not be Allowed to Travel
                Internationally to Conduct Business
12
13        The defendants claim that they need to travel
14   internationally to conduct business for their current employer
15   Valvtechnologies, Inc. (“VTI”).       Magistrate Judge Goldman’s order
16   allowing international business travel ignored the similarities
17   between defendants’ current employment and their employment at
18   CCI during the alleged conspiracy.        The parallels between
19   defendants’ current activities and their former positions at CCI
20   are striking.    While overseas, PTS has absolutely no ability to
21   ensure that defendants are not engaging in business practices
22   that would constitute additional violations of United States law.
23   As a result, international travel should not be permitted.
24        Each of the defendants has submitted a letter from Kevin
25   Hunt, the President of VTI, in support of their requests for
26
          4
               There is a first trust deed against the San Clemente
27   property; the loan balance is approximately $200,000. This
     property will be deeded to the Court to secure the Carsons’
28   respective $500,000 appearance bonds.

                                          6
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 9 of 12 Page ID #:239



 1   international travel.5     This letter detailed their job
 2   responsibilities and the requirement that they travel
 3   internationally.    According to the letter, S. Carson presently
 4   serves as VTI’s vice-president of sales and marketing, a role
 5   which includes “identifying prospective business opportunities to
 6   VTI and helping with securing such business for VTI.”           R. Carson
 7   serves as VTI’s director of sales for China and Taiwan, and is
 8   “responsible for marketing VTI valves in China and Taiwan.”
 9   Finally, Edmonds is VTI’s director of sales for the Americas,
10   Australia, and Asia (excluding China and Taiwan) and worldwide
11   customer service, and his role includes “marketing VTI valves in
12   the Americas, Australia, and Asia (excluding China & Taiwan) and
13   Customer Service Worldwide.”
14        Although CCI and VTI are both valve manufacturers, their
15   products do not compete directly, and there are, in S. Carson’s
16   own words, “many mutual CCI and VTI customers.”          See Exhibit C.6
17   Defendants’ job responsibilities are for all intents and purposes
18   identical to the job responsibilities each defendant had at CCI.
19   The indictment alleges that S. Carson was CCI’s CEO from 1989 to
20   2005, and was the “prime architect” of CCI’s FIC sales model,
21   under which CCI’s employees and agents cultivated “special
22   relationships” with employees of its state-owned and private
23   customers.    Indictment, ¶ 4.     The indictment alleges that R.
24   Carson was first CCI’s manager and later director of sales for
25
          5
                  A copy of the letter is attached as Exhibit B.
26
          6
               The government understands that CCI manufactures
27   “control valves,” while VTI manufactures “isolation valves.” As
     such, their products are in adjacent market segments, and their
28   respective products are bought by many of the same end-users.

                                          7
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 10 of 12 Page ID #:240



 1   China and Taiwan from 1995 through 2007.         Id., ¶ 5.    With respect
 2   to Edmonds, the indictment alleges that he was CCI’s vice-
 3   president of Worldwide Customer Service from 2000 through 2007, a
 4   position from which he oversaw CCI’s replacement parts sales and
 5   the servicing of existing valves.        Id., ¶ 7.
 6         There is at least some suggestion that defendants have
 7   continued their corrupt business practices following their
 8   respective departures from CCI.        VTI’s website (www.valv.com)
 9   contains a list of its distributors; at least four of VTI’s
10   current distributors were terminated by CCI in 2007 for their
11   involvement in the improper payments.         One of those four
12   distributors served as CCI’s representative in Indonesia and
13   Singapore during the course of the charged conspiracy, had
14   numerous direct dealings with defendant Edmonds, and appears to
15   have made and arranged for several payments to CCI customers on
16   CCI’s behalf.
17         Moreover, the evidence indicates that defendants have
18   continued the same business relationships that are involved in
19   the indictment.     For instance, in December 2005, S. Carson
20   apparently hosted Gerardo Churion of “Company 2” at his vacation
21   home in Florida.     In an e-mail dated December 19, 2005, defendant
22   Cosgrove explained to CCI’s new CEO, Ian Whiting, that “Stu . . .
23   has the company pay for all the holiday expenses (fishing, gas
24   for his boats, food etc).       Gerardo [Churion] is going [to S.
25   Carson’s home in Florida] at Xmas time and VTI will be picking up
26
27
28

                                          8
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 11 of 12 Page ID #:241



 1   the bill.”    Exhibit C.7
 2         The continued involvement of S. Carson on behalf of VTI with
 3   Gerardo Churion is notable because Overt Act 58 of the indictment
 4   involves a corrupt payment in July 2003 to Churion by S. Carson
 5   in the form of a “lavish Hawaii vacation” for the purpose of
 6   “secur[ing] future Company 2 business.”         The evidence will show
 7   that Churion was an engineer at Company 2 with the influence to
 8   award contracts to CCI.      Together, this e-mail and the list of
 9   VTI distributors suggest that defendants are now doing business
10   with many of the same customers with whom they did business on
11   behalf of CCI.
12         It is reasonable for the Court to infer from these parallels
13   that there is a risk that the corrupt business practices which
14   led to the charges in the indictment may be ongoing.           In light of
15   this risk, it is likewise reasonable for the Court to impose a
16   condition of bond that restricts defendants’ travel to the
17   continental United States to ensure that those corrupt business
18   practices do not continue while defendants are on PTS
19   supervision.8
20
           7
               In an earlier e-mail in this thread, S. Carson tells
21   Whiting that “Mr. [Company 2] [presumably a reference to Company
     2’s Churion] and his family arrive” the day after Christmas.
22   Exhibit C. These e-mails were written at a time when S. Carson
     was acting as a director/consultant for VTI, and his wife R.
23   Carson was still employed at CCI.
24         8
               Defendants cited Magistrate Judge Goldman to the fact
     that several other FCPA defendants have been allowed to travel
25   internationally, noting that FCPA defendants in United States v.
     Head, No. 06-CR-01380 (S.D. Cal. 2006), United States v. Young,
26   No. 07-CR-609 (D. N.J. 2007), and United States v. Jefferson, No.
     07-CR-209 (E.D. Va. 2007), were each allowed to travel
27   internationally. These cases, however, each presented different
     circumstances. There is no indication that any of these
28   defendants were traveling for business (1) in the same industry,

                                          9
     Case 8:09-cr-00077-JVS Document 40 Filed 04/16/09 Page 12 of 12 Page ID #:242



 1   III. CONCLUSION
 2         The allegations of the indictment, coupled with the
 3   potential sentencing consequences, defendant’s foreign ties, and
 4   the unsettling similarities between their current employment and
 5   their work at CCI, warrant against international travel.            The
 6   portion of Magistrate Judge Goldman’s release order allowing
 7   international travel should be stricken.
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25   (2) in equivalent positions, and (3) to visit at least some of
     the same overseas customers. Additionally, defendants in Head
26   and Young had each pleaded guilty and were cooperating with law
     enforcement. Finally, the defendant in Jefferson was a sitting
27   Member of Congress who had potential official travel abroad,
     causing the district court and the Department of Justice to agree
28   to international travel to avoid a separation of powers issue.

                                          10
